





















Opinion issued August 5, 2010



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-10-00388-CR

———————————

Brooks McGee and Allegheny Casualty Co., Appellant

V.

The State of
Texas, Appellee



&nbsp;



&nbsp;

On Appeal from the County Court at Law 

Washington County, Texas



Trial Court Case No. 07-179

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The parties have filed a joint motion to dismiss this appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, the motion is granted, and the
appeal is dismissed.&nbsp; Tex. R. App. P. 42.1(a)(2).&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; All other pending motions in this
appeal are overruled as moot.&nbsp; The Clerk
is directed to issue mandate within 10 days of the date of this opinion.&nbsp; Tex.
R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Keyes,
Hanks, and Higley.

Do
Not Publish.&nbsp; Tex. R. App. P. 47.2(b).





